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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

MICHAEL WARD AND
JENNIFER GLOCK FOUNDATION,
a New York nonproﬁt,

        Plaintiﬀ,

v.                                          Case No. 3:23-cv-1220-TJC-MCR

THE ONE LOVE FOUNDATION IN
HONOR OF YEARDLEY LOVE, INC.,
a Maryland corporation,

      Defendant.
___________________________________/

     PLAINTIFF MICHAEL WARD AND JENNIFER GLOCK FOUNDATION’S
      REPLY IN SUPPORT OF ITS MOTION FOR EXTENSION OF TIME TO
             RESPOND TO DEFENDANT’S MOTION TO DISMISS
          AND FOR LEAVE TO TAKE JURISDICTIONAL DISCOVERY

        Defendant One Love Foundation in Honor of Yeardley Love, Inc. (“One

Love”) seeks to deny Plaintiﬀ Michael Ward and Jennifer Glock Foundation (the

“Foundation”) the opportunity to take jurisdictional discovery. Nothing in One

Love’s response to the Foundation’s motion justiﬁes such an outcome.

                                  ARGUMENT

I.      The Complaint adequately pleads personal jurisdiction.

        The Complaint in this case was originally ﬁled in Florida state court and
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then removed to this Court based on diversity of citizenship. Under these

circumstances, a plaintiﬀ may plead personal jurisdiction over a nonresident

defendant by invoking the language of the Florida long-arm statute without

alleging supporting facts. See Grasso v. Grasso, No. 8:13-cv-3186-T-33AEP, 2014 WL

12621223, at *7 (M.D. Fla. Nov. 15, 2014) (“A plaintiﬀ may meet the burden of

pleading a basis for jurisdiction under this statute ‘either by tracking the language

of section 48.193 without pleading supporting facts or by alleging speciﬁc facts

that demonstrate that the defendant’s actions ﬁt within one or more subsections of

section 48.193.’”); Black v. Bryant, 905 F. Supp. 1046, 1051 (M.D. Fla. 1995) (same);

Voorhees v. Cilcorp, Inc., 837 F. Supp. 395, 398 (M.D. Fla. 1993) (same).

      Here, the Complaint pleads statutory bases for jurisdiction in the language

of the long-arm statute, in addition to alleging supporting facts. See Compl. ¶¶ 11-

12. It thus adequately alleges a basis for personal jurisdiction.

      To deny the Foundation jurisdictional discovery based on some other,

unspeciﬁed pleading standard, as One Love seeks to do, would be an improper

“gotcha” tactic. When the Foundation ﬁled its Complaint in state court, it was

subject to Florida Rule of Civil Procedure 1.070(h), which explicitly recognizes that

it is suﬃcient to “plead the basis” for jurisdiction over a nonresident defendant “in



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the language of the statute without pleading the facts supporting” jurisdiction. Fla.

R. Civ. P. 1.070(h); see also Venetian Salami Co. v. Parthenais, 554 So. 2d 499, 502 (Fla.

1989). Even if, as One Love appears to assume, some other standard applies in this

Court, any purported pleading deﬁciency was created only by One Love’s decision

to remove this action after the Foundation ﬁled a Complaint that was

unquestionably suﬃcient when ﬁled. The Court should not reward such improper

tactics by allowing One Love to conceal its contacts with Florida.

II.   The jurisdictional discovery the Foundation seeks is relevant to whether
      One Love is “carrying on a business or business venture in this state” and
      has suﬃcient minimum contacts with Florida.

      One Love argues that the contacts with Florida pointed out in the

Foundation’s motion “ha[ve] no bearing on whether [One Love’s] contract with

Plaintiﬀ was one that ‘require[d] performance in Florida,’” under section

48.193(1)(a)(7), Florida Statutes. ECF No. 10 at 5. This argument will be proved

wrong, but it also completely overlooks the other statutory basis for jurisdiction

alleged in the Complaint: section 48.193(1)(a)(1), which confers jurisdiction over

“any cause of action arising from . . . : 1. Operating, conducting, engaging in, or

carrying on a business or business venture in this state or having an oﬃce or

agency in this state.” § 48.193(1)(a)(1), Fla. Stat. (2023). It also ignores the fact that

the Court must determine whether One Love’s “contacts with [Florida] are such
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that it has fair warning that it may be subject to suit there,” including whether One

Love has “‘purposefully availed’ itself of the privilege of conducting activities

within [Florida].” Del Valle v. Trivago GMBH, 56 F.4th 1265, 1275 (11th Cir. 2022).

The Foundation seeks discovery relevant to those issues.

       This case arises from One Love’s relationship with a major donor—the

Foundation—based in Florida, where the Foundation’s sole oﬃce and principal

place of business is located and where its sole trustees reside. The Foundation’s

proposed jurisdictional discovery, attached hereto as Composite Exhibit A, seeks

information regarding One Love’s fundraising eﬀorts in Florida—eﬀorts from

which this case directly arises—and the activities in Florida supported by that

fundraising. 1 That information bears on whether the contacts with Florida from

which this case arises are suﬃcient to amount to a business or business venture

and purposeful availment of the privilege of conducting activities in Florida.

       Finally, the Court should reject One Love’s invitation to rule on its venue

arguments before giving the Foundation an opportunity to respond. ECF No. 16

at 6. The Foundation opposes that request and expressly sought an extension to

respond to the entirety of One Love’s motion. ECF No. 15 at 1.



       The Foundation’s understanding is that most, if not all, of the information sought in its
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proposed requests is regularly collected by One Love and readily available to be produced.
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                                 CONCLUSION

      The Complaint adequately pleads personal jurisdiction, and the

Foundation’s proposed jurisdictional discovery is relevant to whether One Love

operates a business or business venture in Florida and has suﬃcient minimum

contacts with Florida to satisfy due process requirements. The Foundation should,

therefore, have the opportunity to conduct jurisdictional discovery.

      Dated: December 4, 2023.

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